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‘Pro Se ? (Rev, 12/£6} Complaint for Empioyment Discrimination

U.S. COURTS

UNITED STATES DISTRICT CouRT —/UN 15 2020

Jason Alien Melson Sr

Revd Filed Time.
for the STEPHEN W. KENYON
CLERK, DISTRICT OF IDAHO

District of
Division

Case No,

 

(to be filled in by the Clerk’s Office)

 

Plaintiff(s)
(Write the full name of each plaintiff who is fling this complaint.
ifthe names of all the plaintiffs cannot fit in the space above,
please write "see attached" in the space and attach an additional
page with the full list af names.)

=~

Forte Construction Services LLC

Jury Trial: (check one) KK] Yes [[] No

 

Defendant(s}
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list af names.)

Nem mee! pee! Naa Sone ee Set” eget” St” Shee” Sane” nee” ee” nee” Sine”

COMPLAINT FOR EMPLOYMENT DISCRIMINATION

I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.
Name
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address

B. The Defendant(s)

Jason Allen Melson Sr

 

1222 ¢ 4" st apt 2

 

Meridian, Ada

 

Idaho 83642

 

208-5 13-8897

 

jasonmelson@icloud.com |

 

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person’s job or title (ifknown). Attach additional pages if needed.

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Defendant No. 1
Name
Job or Title @f known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 2
Name
Job or Tithe (f known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 3
Name
Job or Title (fknewn}
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No, 4
Name
Job or Title (known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Forte Construction Services LLC

 

LLC

 

1740 E State St.

 

Eagle county of Ada

 

Idaho 83616

 

2085138897

 

jasonmelson@icloud.com

 

John Woods

 

Foreman

 

1740 E state St

 

Eagle county of Ada

 

Idaho 83616

 

208-371-6052

 

 

Del Ray Rude

 

superintendent

 

1740 E State St

 

Eagle county of Ada

 

Idaho 83616

 

208-371-5984

 

drude@fcsboise.com

 

luis Valdez

 

Foreman

 

1740 e State st

 

Eagie county of Ada

 

Idaho 83616

 

208-939-6762

 

 

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Cc, Place of Employment

The address at which I sought employment or was employed by the defendant(s) is

 

 

 

 

 

Name Forte Construction Services LLC
Street Address 1740 E state st
City and County Eagle county of Ada
State and Zip Code Idaho 83616
Telephone Number 208-939-6762
I. Basis for Jurisdiction

This action is brought for discrimination in employment pursuant to (check all that apply):

x] Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e to 2000c¢-17 (race,

color, gender, religion, national origin),

(Note: In order to bring suit in federal district court under Title VI, you must first obtain a
Notice of Right to Sue letter from the Equal Employment Opportunity Cominission.)

| Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C. §§ 621 to 634.

(Note. In order to bring suit in federal district court under the Age Discrimination in
Employment Act, you must first file a charge with the Equal Employment Opportunity
Commission.)

‘/- Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112 to 12117.

(Note: In order to bring suit in federal district court under the Americans with Disabilities
Act, you must first obtain a Notice of Right to Sue letter from the Equal Employment
Opportunity Commission.)

 

 

XI Other federal law (specify the federal law):
Lible, defamation of charatcter

CJ Relevant state law (specify, if known):

Tr]: Relevant city or county law (specify, if known):

 

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ill,

Statement of Claim

Write a short and plain statement of the claim, Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what cach defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number cach claim and
write a short and plain statement of cach claim in a separate paragraph, Attach additional pages if needed.

A, ‘The discriminatory conduct of which I complain in this action includes (check all that apply):
{| Failure to hire me.
& Termination of my employment.
C) Failure to promote me.
CJ Failure to accommodate my disability,
Unequal terms and conditions of my employment.
x Retaliation.
x] Other acts (specify): Lible, Slander, defamination of character

 

(Note: Only those grounds raised in the charge filed with the Equal Employment
Opportunity Commission can be considered by the federal district court under the

Jederal employment discrimination statutes.)

 

 

 

 

 

 

It is my best recollection that the alleged discriminatory acts occurred on date(s)
1/20/2020-06/1 1/2020
I believe that defendant(s) (check one):
XxX is/are still committing these acts against me.
CJ is/are not still committing these acts against me.
Defendant(s) discriminated against me based on my (check all that apply and explain):
CJ race
C] color
x] gendet/sex Family Responsibility
Discrimination Male Caregiver of
young child, that certain people
percieve as a female role.
Cr religion
cl national origin
| age (vear of birth) (only when asserting a claim of age discrimination.)
C] disability or perceived disability (specify disability)

 

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E. The facts of my case are as follows. Attach additional pages if needed.
See Attachment 1A

 

(Note: As additional support for the facts of your claim, you may attach to this complaint a copy of
your charge filed with the Equal Employment Opportunity Commission, or the charge filed with the
relevant state or city human rights division.

IV. Exhaustion of Federal Administrative Remedies

 

A, It is my best recollection that I filed a charge with the Equal Employment Opportunity Commission or
my Equal Employment Opportunity counselor regarding the defendant's alleged discriminatory conduct
on (date)

3/6/2020
B, The Equal Employment Opportunity Commission (check one):
CI has not issued a Notice of Right to Sue letter.
Xx issued a Notice of Right to Sue letter, which I received on (date) 6/3/2020

(Note: Attach a copy of the Notice of Right to Sue letter from the Equal Employment
Opportunity Commission to this complaint.)

Cc, Only litigants alleging age discrimination must answer this question.

Since filing my charge of age discrimination with the Equal Employment Opportunity Commission
regarding the defendant's alleged discriminatory conduct (check one):

Cc 60 days or more have elapsed.
Tj less than 60 days have elapsed.

Vv. Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include the
amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any punitive
or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or punitive
money damages.

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3/6/2020
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[] less than 60 days have elapsed.

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State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include the
amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any punitive
or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or punitive
money damages.

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